         Case 1:21-cr-00353-JDB Document 1-1 Filed 04/12/21 Page 1 of 6




                                   STATEMENT OF FACTS

        Your affiant is a Special Agent with the Federal Bureau of Investigation (“FBI”) and I am
permanently assigned to the New York Field Office and temporarily assigned to the Columbia,
South Carolina Field Office. Currently, I am tasked with investigating criminal activity in and
around the Capitol grounds on January 6, 2021. As a Special Agent, I am authorized by law or by
a Government agency to engage in or supervise the prevention, detention, investigation, or
prosecution of violations of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

       On January 6, 2021, a joint session of the U.S. Congress convened at the U.S. Capitol,
which is located at First Street, SE, in Washington, D.C. During the joint session, elected members
of the United States House of Representatives and the United States Senate were meeting in
separate chambers of the United States Capitol to certify the vote count of the Electoral College of
the 2020 Presidential Election, which had taken place on November 3, 2020. The joint session
began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and
Senate adjourned to separate chambers to resolve a particular objection. Vice President Mike
Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
          Case 1:21-cr-00353-JDB Document 1-1 Filed 04/12/21 Page 2 of 6




violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        On or about February 25, 2021, the FBI received a tip from an individual (“Witness 1”)
stating that NICHOLAS LANGUERAND, who Witness 1 knows personally, had posted a picture
on Instagram of himself at the U.S. Capitol during the riots. Witness 1 said that LANGUERAND’s
username for both Instagram and Reddit was “blessthisimmunity_17.” In the Instagram post
(shown below), LANGUERAND can be seen with a trimmed beard, and wearing a distinct red
knit hat with black and white stripes across a portion of the top, a black face mask around his neck,
and a black sweatshirt with the word “Georgia” in gold lettering. In addition, the collar of a plaid
shirt can be seen under the sweatshirt. Based on the background of the photograph, it appears to
have been taken on January 6, 2021 from the Upper West Terrace on the exterior of the U.S.
Capitol.




        I have reviewed the publicly available Reddit posts for the user named
“blessthisimmunity17.” Among the posts, I observed that the user of the account posted what
         Case 1:21-cr-00353-JDB Document 1-1 Filed 04/12/21 Page 3 of 6




appears to be the same photograph of LANGUERAND as in the Instagram post shown above. In
addition, the same user posted a comment in response to someone else’s post in which he identified
himself as NICHOLAS LANGUERAND.




      I have also reviewed the North Carolina driver’s license photo of NICHOLAS
LANGUERAND. The individual in the photo appears to be the same person seen in the Instagram
and Reddit posts.

       I have reviewed publicly available photos and videos taken at approximately 5 p.m. during
the Capitol Riots in which an individual wearing the same distinct red knit hat, a black sweatshirt,
black mask and plaid shirt, with a trimmed beard, can be seen in the area near the tunnel entrance
to the U.S. Capitol in the Lower West Terrace, just below where the photograph of
LANGUERAND was taken. A portion of one such photo is below, with the individual circled in
red.




        In these publicly available photos and videos, the individual resembling LANGUERAND
is throwing a variety of objects at the law enforcement officers defending the entrance to the Lower
West Terrace tunnel. Among the objects thrown at law enforcement are what appears to be a large
orange traffic barrier, a cannister of pepper spray, and a stick-like object. Two screenshots from
one of these videos are shown below, and the individual resembling LANGUERAND is circled in
red.
         Case 1:21-cr-00353-JDB Document 1-1 Filed 04/12/21 Page 4 of 6




       I have also reviewed security video obtained from the U.S. Capitol Police taken from inside
the Lower West Terrace tunnel. In this video, the individual resembling LANGUERAND can be
seen throwing various objects at the law enforcement officers defending the tunnel entrance. A
screenshot from the security video is shown below, with the individual resembling
LANGUERAND circled in red.




         The publicly available videos also shows that at approximately 5:02 p.m., the individual
resembling LANGUERAND was holding a police shield and hitting it against the ground. A
screenshot from one of the videos is shown below and the individual resembling LANGERUAND
is circled in red.
          Case 1:21-cr-00353-JDB Document 1-1 Filed 04/12/21 Page 5 of 6




         Based on the foregoing, your affiant submits that there is probable cause to believe that
NICHOLAS LANGUERAND violated 18 U.S.C. § 111(a)(1) and (b), which makes it a crime to
forcibly assault, resist, oppose, impede, intimidate, or interfere with any person designated in
section 1114 of title 18 while engaged in or on account of the performance of official duties and
using a deadly or dangerous weapon (including a weapon intended to cause death or danger but
that fails to do so by reason of a defective component). Persons designated within section 1114
include any person assisting an officer or employee of the United States in the performance of their
official duties.

        Your affiant submits there is also probable cause to believe that NICHOLAS
LANGUERAND violated 18 U.S.C. § 231(a)(3) and § 2, which makes it unlawful to commit or
attempt to commit any act to obstruct, impede, or interfere with any fireman or law enforcement
officer lawfully engaged in the lawful performance of his official duties incident to and during the
commission of a civil disorder which in any way or degree obstructs, delays, or adversely affects
commerce or the movement of any article or commodity in commerce or the conduct or
performance of any federally protected function. For purposes of Section 231 of Title 18, a
federally protected function means any function, operation, or action carried out, under the laws
of the United States, by any department, agency, or instrumentality of the United States or by an
officer or employee thereof. This includes the Joint Session of Congress where the Senate and
House count Electoral College votes.

        Your affiant submits there is probable cause to believe that NICHOLAS LANGUERAND
violated 18 U.S.C. § 641 and § 2, which make it a crime to steal, purloin, or knowingly convert to
his use or the use of another, or without authority, convey or dispose of any thing of value of the
United States or of any department or agency thereof, or any property made or being made under
contract for the United States or any department or agency thereof; or receives, conceals, or retains
the same with intent to convert it to his use or gain, knowing it to have been stolen, purloined or
          Case 1:21-cr-00353-JDB Document 1-1 Filed 04/12/21 Page 6 of 6




converted. Police shields are “things of value of the United States or of any department or agency
thereof.”
        Your affiant submits that there is also probable cause to believe that NICHOLAS
LANGUERAND violated 18 U.S.C. § 1752(a)(1), (2), and (4), which make it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do so;
(2) knowingly, and with intent to impede or disrupt the orderly conduct of Government business
or official functions, engage in disorderly or disruptive conduct in, or within such proximity to,
any restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions; (4) knowingly engages in any act of
physical violence against any person or property in any restricted building or grounds; or attempts
or conspires to do so; and (b)(1)(A) during and in relation to the offense, did use and carry a deadly
and dangerous weapon, to wit: a traffic barrier and a stick-like object. For purposes of Section
1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise restricted
area of a building or grounds where the President or other person protected by the Secret Service,
including the Vice President, is or will be temporarily visiting; or any building or grounds so
restricted in conjunction with an event designated as a special event of national significance.

        Finally, your affiant submits there is probable cause to believe that NICHOLAS
LANGUERAND violated 40 U.S.C. §§ 5104(e)(2)(D) and (G), which make it a crime to willfully
and knowingly (D) utter loud, threatening, or abusive language, or engage in disorderly or
disruptive conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent
to impede, disrupt, or disturb the orderly conduct of a session of Congress or either House of
Congress, or the orderly conduct in that building of a hearing before, or any deliberations of, a
committee of Congress or either House of Congress; and (G) parade, demonstrate, or picket in any
of the Capitol Buildings.


                                                      _________________________________
                                                      Patricia Norden
                                                      Special Agent
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 12th day of April 2021.                               2021.04.12
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                                                      ___________________________________
                                                                    -04'00'
                                                      ROBIN M. MERIWEATHER
                                                      U.S. MAGISTRATE JUDGE
